UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

 1[9CRIM 073:

SAMER EL DEBEK,

19 Cr. (PAE)
a/k/a “Samer Eldebek, ” .

Defendant.

The above-named defendant, who is accused of violating
Title 18, United States Code, Sections 2339B, 2339D, 371, 924(c),
and 2, and Title 50, United States Code, Section 1705(a), being
advised of the nature of the charges and of his rights, hereby
waives, in open Court, prosecution by indictment and consents that

the proceeding may be by information instead of by indictment.

 

 

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Mi Witness

 

Coubsel for Defendant

Date: New York, New York
January 11, 2019

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